           Case 1:21-cr-00175-TJK Document 359 Filed 05/16/22 Page 1 of 3


                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                                                CASE NO: 21-CR-175-TJK
v.

ENRIQUE TARRIO,

                      Defendant.

_______________________________/


     NOTICE OF ENRIQUE TARRIO’S DETENTION AND INABILITY TO REVIEW
                             DISCOVERY


          COMES NOW the Defendant, Enrique Tarrio (Tarrio), and gives the following

notice:

                1. On May 14, 2022 undersigned and co-counsel were in Washington

                   D.C. to visit with Tarrio and take part in the scheduled Capitol Tour.

                2. Tarrio is currently being held in the Rappahannock Regional Jail in

                   Stafford, Virginia.

                3. It is an approximate hour-long drive from the Capitol to the jail during

                   normal early Saturday morning traffic.

                4. The Defense had been assured by jail personnel that we would have

                   the ability to visit with him from 8:20am to 11:30am on Saturday. While

                   the undersigned had originally planned to visit with the Defendant on

                   Sunday, jail personnel stated in no uncertain terms that legal visits are

                   not allowed on Sunday under any circumstances.

                5. The undersigned and co-counsel arrived promptly on Saturday

                   morning, but were met with a dark and closed main lobby. After some


                                                                                            1
Case 1:21-cr-00175-TJK Document 359 Filed 05/16/22 Page 2 of 3


       phone calls and help from the adjacent bond office, a corrections

       officer materialized and let us into the facility.

    6. After much waiting, we were finally allowed to see our client at 9:45-

       9:50 a.m., about an hour and half after we arrived.

    7. The jail visit took place behind plexiglass, where communication could

       only take place by speaking loudly (borderline screaming) through

       small little holes in the metal sides surrounding the plexiglass

       enclosure. There were a total of six plexiglass stalls that seem more

       appropriate to short familial visitation.

    8. Tarrio struggled to hear and see the videos of discovery that were

       played for him, with frequent questions of what was said or heard from

       the videos.

    9. Undersigned also brought documents to show and read with Tarrio, but

       could not show them to him.

    10. The undersigned inquired if there was another room where we could

       have meaningful contact visitation to review evidence and documents

       with Tarrio. Jail personnel indicated that there was none available.

       The only visitation available was in that room, or online (45 minutes

       maximum), which is even worse.

    11. All the corrections officers were courteous and professional, but the

       facilities are simply not designed for a case of this magnitude.

    12. It is impossible for the defense to properly prepare for this case and

       render effective assistance of counsel if Tarrio is warehoused in these

       conditions where even rudimentary discovery review is impractical.


                                                                             2
        Case 1:21-cr-00175-TJK Document 359 Filed 05/16/22 Page 3 of 3


                                             Respectfully submitted,

                                             BY: /s/ Sabino Jauregui, Esq.
                                             Florida Bar Number 503134
                                             Jauregui Law, P.A.
                                             1014 West 49 Street
                                             Hialeah, Florida 33012
                                             Phone 305-822-2901
                                             FAX 305-822-2902


                                             /s/ Nayib Hassan
                                             Florida Bar No. 20949
                                             Attorney for Defendant
                                             LAW OFC.OF NAYIB HASSAN
                                             6175 NW 153 St., Suite 221
                                             Miami Lakes, Florida 33014
                                             Tel. No.: 305.403.7323
                                             Fax No.: 305.403.1522




                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was

electronically noticed through the CM/ECF system to the US Attorney’s Office on this

16st day of May, 2022 to the following:

      Jason McCollough
      Luke Jones
      Erik Kenerson
      Nadia Moore
      Conor Mulroe

                                                   BY: /s/ Sabino Jauregui, Esq.
                                                   Florida Bar Number 503134
                                                   Jauregui Law, P.A.
                                                   1014 West 49 Street
                                                   Hialeah, Florida 33012
                                                   Phone 305-822-2901
                                                   FAX 305-822-2902



                                                                                   3
